Case 2:24-cv-00080-JRG Document 18 Filed 05/13/24 Page 1 of 2 PageID #: 117




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 SIGNODE INDUSTRIAL GROUP LLC,

                    Plaintiff,

 v.                                                     Civil Action No. 2:24-cv-00080-JRG

 SAMUEL, SON & CO. LTD. and SAMUEL,
 SON & CO. (USA) INC. d/b/a SAMUEL
 PACKAGING SYSTEMS GROUP and
 SAMUEL STRAPPING SYSTEMS,

                    Defendants.


                       NOTICE OF APPEARANCE OF COUNSEL

       Notice is hereby given that Tiffany K. Sung of Foley & Lardner LLP enters her

appearance on behalf of Defendants Samuel, Son & Co. Ltd. and Samuel, Son & Co. (USA) Inc.

d/b/a Samuel Packaging Systems Group and Samuel Strapping Systems in this matter.


       Tiffany K. Sung may receive all communications from the Court and from other parties

at Foley & Lardner LLP, 555 S. Flower Street, Suite 3300, Los Angeles, CA 90071-2418,

Telephone: (213) 972-4503; Facsimile: (213) 486-0065; email tsung@foley.com.


 Dated: May 13, 2024                              Respectfully submitted,

                                                  /s/ Tiffany K. Sung
                                                  Tiffany K. Sung
                                                  CA Bar No. 323077
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                                                   Attorney for Defendants



                                              1
 Case 2:24-cv-00080-JRG Document 18 Filed 05/13/24 Page 2 of 2 PageID #: 118




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this the 13th day of May 2024.


                                                   Respectfully submitted,

                                                   /s/ Tiffany K. Sung
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                                                   Attorney for Defendants




                                              2
